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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

VIRGINIA L. GIUFFRE,

                    Plaintiff,
                                             15 Civ. 7433 (LAP)
-against-

GHISLAINE MAXWELL,

                    Defendant.


LORETTA A. PRESKA, Senior United States District Judge:

    The Court is in receipt of submissions from the parties

regarding the schedule for addressing the first set of non-party

objectors (see dkt. no. 1232) and the Miami Herald’s letter

seeking an opportunity to respond to the objections (see dkt.

no. 1321).

    The parties shall first file briefs addressing the

objections of the following non-parties: Does 17, 53, 54, 55,

56, 73, 93, and 151.

    The briefing schedule shall be as follows:

       •    The parties shall submit their opening briefs no later
            than two weeks after the conclusion of Ms. Maxwell’s
            criminal trial, assuming the trial proceeds as
            presently scheduled.

       •    The Herald may file a responsive brief no later than
            two weeks after the parties file their opening briefs.
            The Herald shall inform the Court whether it requires
            further information about the objections beyond what
            is described in the redacted, publicly-filed versions
            of the parties’ briefs.




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       •   The parties shall file any reply briefs no later than
           two weeks after the Herald files its brief.

SO ORDERED.

Dated: November 5, 2021
       New York, New York



                           __________________________________
                           LORETTA A. PRESKA
                           Senior United States District Judge




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